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Fill in this information to identify the case:

 

United States Bankruptcy Court for the:

Southern District of Florida

Case number (if known) Chapter 11

 

Check if this an
‘= amended filing

 

 

Official Form 205
Involuntary Petition Against a Non-Individual 12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as com plete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

GERSE identity the Chapter of the Bankruptcy Code Under Which Petition Is Filed
1. Chapter of the Bankruptcy Check one:
Code

[_| Chapter 7
[¥] Chapter 11

GEE identify the Debtor

2. Debtor'sname South Atlantic Regional Center, LLC

 

3. Other names you
know the debtor
has used in the last
8 years

 

 

Include any
assumed names,
trade names, or
doing business as
names.

 

4. Debtor's federal Employer = [| Unknown
Identification Number (EIN) XX-XXXXXXX

 

 

 

 

 

 

 

 

 

 

 

 

EIN
5. Debtor's address Principal place of business Mailing address, if different

9200 Belvedere Rd., Suite 202 Registered Agents, Inc.

Number Street Number Street
7901 4th Street North, Suite 300
P.O. Box

West Palm Beach FL 33411-0000 Saint Petersburg FL 33702-0000

City State Zip Code City State Zip Code
Location of principal assets, if different from principal

Palm Beach place of business

County
Number Street
City State Zip Code

 

6. Debtor's website (URL)

 

 

7. Typeofdebtor — [¥] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
| Partnership (excluding LLP)
[_] Other type of debtor. Specify:

 

8. Type of debtor's Check one:

business
[_] Health Care Business (as defined in 11 U.S.C. § 101(27A)
[_] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)
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Debtor South Atlantic Regional Center, LLC Case number (if known)
[_] Railroad (as defined in 11 U.S.C. § 101(44)

LC] Stockbroker (as defined in 11 U.S.C. § 101(53A)

[_] Commodity Broker (as defined in 11 U.S.C. § 101(6)

[_| Clearing Bank (as defined in 11 U.S.C. § 781(3)

[Vv] None of the types of business listed.

[| Unknown type of business.

 

9. To the best of [¥] No

 

 

 

 

your knowledge, [_| Yes. Debtor Relationship
are any
bankruptcy cases District Date filed Case number, if known
pending by or MM/DD/YYYY
against any
partner or affiliate
of this debtor?
Debtor Relationship
District Date filed Case number, if known
MM /DD/YYYY

 

“HEGEL Report About the Case

10. Venue Check one:

Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
in this district longer than in any other district.

| A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

 

11. Allegations Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At least one box must be checked:

[¥] The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability
or amount.

LC] Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
appointed or took possession.

 

12. Has there beena [¥] No
transfer of any [_] Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
claim against the
debtor by or to
any petitioner?

 

13. Each petitioner's claim Name of petitioner Nature of petitioner's claim Amount of the claim
above the value of any
lien

160 Royal Palm, LLC Final Judgment $63996558.37
$
$

Total of petitioners’ claims | $63996558.37 |

If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
name and the case number, if known, at top of each sheet. Following the format of this form,
set out the information required in Parts 3 and 4 of the form for each statement under penalty
of perjury set out in Part 4 of the form, followed by each additional petitioner's (or
representative's) signature, along with the signature of the petitioner's attorney.

 

Request for Relief

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonable belief that the information is true and correct.
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Debtor South Atlantic Regional Center, LLC

Petitioners or Petitioners' Representative

Name and mailing address of petitioner
160 Royal Palm, LLC
Name

Cary Glickstein, Manager

clo Shraiberg Landau & Page PA

2385 NW Executive Center Dr., Suite 300
Number Street

Boca Raton FL 33431-0000
City State

 

Zip Code

Name and mailing address of petitioner's representative, if any

 

Name

 

Number Street

 

City State Zip Code

| declare under penalty of perj Sale e foregoing is true and correct.
Executed on ( a 4
M/DD/YYYY

4 Sf )an~a fey

sient Cpostinner or representative, including representative's title

 

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Case number (if known)

 

Attorneys

Philip J. Landau
Printed name

Shraiberg, Landau & Page, P.A.

 

Firm name, if any
2385 NW Executive Center Dr

 

 

 

Suite 300

Number _ Street

Boca Raton FL 33431-0000

City State Zip Code
Contact phone 561 443 0800 Email plandau@slp.law
Barnumber 0504017

State FL

 

  

Date signéd me [fa q / 17)

MM/DD/YYYY .

 

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